
PER CURIAM.
AFFIRMED. Chambers v. State, 752 So.2d 64 (Fla. 1st DCA 2000); Turner v. State, 745 So.2d 351 (Fla. 1st DCA 1999), rev. granted, No. 96,631, — So.2d - (Fla. Feb. 3, 2000); Jackson v. State, 744 So.2d 466 (Fla. 1st DCA 1999), rev. granted, 749 So.2d 503 (Fla.1999); Woods v. *537State, 740 So.2d 20 (Fla. 1st DCA 1999), rev. granted, 740 So.2d 529 (Fla.1999).
BARFIELD, C.J., VAN NORTWICK and PADOVANO, JJ., CONCUR.
